              Case 2:08-cr-00318-DAD Document 407 Filed 04/25/14 Page 1 of 3


 1   MICHAEL D. LONG (CA State Bar #149475)
     901 H Street, Suite 301
 2
     Sacramento, CA 95814
 3   (916) 447-1920
     Mike.Long.Law@msn.com
 4
     Attorney for CLARISA ANG
 5

 6                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,    ) No. CR-S-08-318 LKK
 8
                     Plaintiff,       )
 9                                    ) STIPULATION AND
          v.                          ) ORDER TO CONTINUE SURRENDER
10                                    ) DATE FOR CLARISA ANG
     CLARISA ANG,                     )
11
                                      )
12
                     Defendant.       )
     ================================) Judge: Hon. Lawrence K. Karlton
13
            It is hereby stipulated between the parties, Assistant United States Attorney Robert Tice-
14

15
     Raskin, and Michael Long, attorney for CLARISA ANG, that CLARISA ANG’s presently set

16   surrender date of May 1, 2014, should be continued until November 1, 2014. Defendant has
17   proffered the following information:
18
            (1) The requested modification of her turn-in date is due to the continuing deteriorating
19
     health of her husband and co-defendant Cris Ang. The court addressed Mr. Ang’s request for a
20
     modification of his own sentence due to the same health concerns (See ECF documents 387, 388,
21

22   389 and 391). Mrs. Ang is still employed by the California Department of Motor Vehicles (DMV)

23   and her employment provides medical coverage for both her and Mr. Ang. Due to the failing health
24
     of Mr. Cris Ang, he is no longer able to be employed or financially support himself. Mr. Ang is has
25
     undergone recent spinal several surgeries that have cost approximately $200,000. Each specialty
26
     doctor visit for related follow-up appointments cost $350. Mr. Ang would not be able to afford the
27

28   medical care without the DMV insurance. When Ms. Ang surrenders herself she will lose her job



                                                    -1-
              Case 2:08-cr-00318-DAD Document 407 Filed 04/25/14 Page 2 of 3


 1   and her health coverage will then terminate. If Mrs. Ang is no longer employed, Mr. Ang will no
 2
     longer have any medical coverage and he will not be able to pay for any private health care.
 3
            (2) Mr. Ang is no longer able to drive a car – his California driver’s license was suspended
 4
     due to his health condition. Ms. Ang drives him to his medical appointments. Ms. Ang also
 5

 6   provides in-home health care for Mr. Ang on a day-to-day basis, including monitoring and

 7   administering his medications.
 8
            (3) Clarisa Ang’s own health situation has been deteriorating over the past year. She now
 9
     suffers from diabetes, which has caused diabetic neuropathy (damage to her nerves due to chronic
10
     high blood pressure) and hypertension.
11

12
            Updated medical records for both Cris Ang and Clarisa Ang have been provided to the

13   United States Attorney’s office concerning the medical problems discussed in this request.
14          The Government does not oppose the requested continuance.
15
            We respectfully request that the court order that the presently set surrender date of May 1,
16
     2014, be continued until November 1, 2014, at 12:00 p.m.
17

18
     Dated: April 22, 2014                                 Respectfully submitted,

19                                                         /s/ Michael D. Long__________
                                                           MICHAEL D. LONG
20                                                         Attorney for Clarisa Ang
21
     Dated: April 22, 2014                                 BENJAMIN WAGNER
22                                                         United States Attorney

23                                                         /s/ Robert Tice-Raskin____
                                                           ROBERT TICE-RASKIN
24
                                                           Assistant U.S. Attorney
25

26

27

28




                                                     -2-
              Case 2:08-cr-00318-DAD Document 407 Filed 04/25/14 Page 3 of 3


 1   MICHAEL D. LONG (CA State Bar #149475)
     901 H Street, Suite 301
 2
     Sacramento, CA 95814
 3   (916) 447-1920
     Mike.Long.Law@msn.com
 4
                               IN THE UNITED STATES DISTRICT COURT
 5
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
     THE UNITED STATES OF AMERICA,               ) No. CR-S-08-318 LKK
 7                   Plaintiff,                  )
                                                 ) ORDER
 8
            v.                                   )
 9                                               )
     CLARISA ANG,                                )
10                                               ) Judge: Hon. Lawrence K. Karlton
                     Defendant.                  )
11
     ================================)
12
            UPON GOOD CAUSE SHOWN and the stipulation of the parties, it is ordered that the
13
     Bureau of Prisons surrender date for CLARISA ANG, presently set for May 1, 2014, at FCI-Dublin
14
     be continued to November 1, 2014, at 12:00 p.m. at FCI-Dublin.
15

16   Dated: April 23, 2014
17

18

19

20

21

22

23

24

25

26

27

28




                                                   -3-
